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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MICHAEL PRESTON, on behalf of himself and                      )
all others similarly situated,                                 )
                                                               )
               Plaintiff,                                      )      1:17-cv-03549
                                                               )
       v.                                                      )
                                                               )
AMERICAN HONDA MOTOR COMPANY, INC.,                            )
                                                               )
               Defendant.                                      )

                                   CLASS ACTION COMPLAINT

       NOW COMES the Plaintiff, MICHAEL PRESTON and for his Complaint against

Defendant, AMERICAN HONDA MOTOR COMPANY, INC., and on behalf of all other

similarly situated Illinois consumers, Plaintiff states as follows:

                                   PRELIMINARY STATEMENT

       1.      Plaintiff, MICHAEL PRESTON, brings this matter on his own behalf and on

behalf of those similarly situated against AMERICAN HONDA MOTOR COMPANY, INC.,

(“Honda”) for its warranty breaches and violations of the Magnuson-Moss Warranty Act, 15

U.S.C. § 2301 et seq. As alleged herein, the vehicles purchased or leased by Plaintiff and the

proposed class members are defective because of the material and/or workmanship used to coat

the vehicles’ electrical wiring.

       2.      Wiring insulation is imperative to the integrity of a vehicle’s electrical system.

Honda made the decision to switch to soy-based insulation to cover the subject vehicles’

electrical wiring. While the material used is allegedly more environmentally friendly, when the

vehicles are placed in the stream of commerce and then purchased by consumers, including

Plaintiff and the class members, the soy content of the coating attracts rodents and other animals,



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causing them to eat away at the wire coating. This causes the wires themselves to be exposed

and ultimately results in vehicle malfunctions, and in some instances, a disabling of the vehicles

altogether.

       3.      Honda has refused to warrant its vehicles when such damage occurs and declines

coverage for the required repairs and/or replacement parts.

                                PARTIES AND JURISDICTION

       4.      This Court has jurisdiction to hear this matter pursuant to 15 U.S.C. § 2310(d)

and/or under the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2) because the matter in

controversy exceeds the sum or value of $5 million, exclusive of interest and costs, and is a class

action in which Plaintiff and the proposed class members are all citizens of Illinois and therefore

diverse from Defendant, a California corporation.

       5.      Plaintiff, MICHAEL PRESTON (hereinafter, “Plaintiff”), is an individual who

was at all times relevant hereto residing in the County of Cook, State of Illinois.

       6.      Defendant, AMERICAN HONDA MOTOR COMPANY, INC., (hereinafter

“Defendant” or “Honda”), is a foreign corporation engaged in the manufacture, sale, supply and

distribution of motor vehicles and related equipment and services, such as written warranties.

Defendant supplies its products and services to the public at large through a system of authorized

dealerships, including the Honda dealership where Plaintiff leased his vehicle.

                           GENERAL FACTUAL ALLEGATIONS

       7.      On or about June 23, 2015, at Muller Honda, Plaintiff leased a 2015 Honda

Accord (hereinafter “Accord”) manufactured and supplied by Defendant, Vehicle Identification

No. 1HGCR2F80FA203311, for an agreed upon value of $25,381.28, inclusive of all collateral

charges incurred at the time of purchase.




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       8.      Plaintiff obtained his Accord for personal, family and household purposes.

       9.      In connection with Plaintiff’s lease, Defendant issued Plaintiff written warranties,

which included a three (3) year or thirty-six thousand (36,000) mile new vehicle warranty.

       10.     Defendant intended Plaintiff to view the fact that the Accord was “warranted” as

an assurance of the Accord’s quality, thereby inducing Plaintiff’s lease.

       11.     Of course, Defendant did not completely disclose the terms of its warranty until

after signing, when the full warranty booklet was provided. Those warranty terms were not

assurances of quality but rather, attempts to limit warranty obligations to repair or replacement of

parts defective in material and workmanship. Said warranty documents also contained various

other terms not previously disclosed, negotiated or agreed to including, but not limited to,

limitations on damages for breach of warranty.

       12.     Nonetheless, Honda’s new vehicle warranty should cover electrical wiring:




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         13.   On or about June 23, 2015, Plaintiff took possession of the Accord but by

November of 2016, Plaintiff experienced a defect and nonconformity with the Accord that

diminished its value and substantially impaired its use and value to Plaintiff.

         14.   While operating the Accord, Plaintiff experienced a complete loss of power in the

power steering, causing the vehicle to be impossible to turn and thus rendering it inoperative on

the roadway.

         15.   When Plaintiff took the Accord in for diagnosis, he discovered that the Accord’s

electrical wiring, which Honda had covered with soy-based material, had been chewed and/or

eaten.

         16.   Honda’s authorized service center informed Plaintiff the needed repairs were not

covered under warranty, even though the three (3) year or thirty-six thousand (36,000) mile new

vehicle warranty was still in effect.

         17.   By November of 2016, Honda already knew that its use of soy-based material to

cover electrical wiring rendered the wiring particularly susceptible to being sought out, chewed

and/or eaten by rodents and other animals.

         18.   In fact, Honda had begun marketing and distributing “Tape, Rodent” as a

“Genuine Honda Part.”

         19.    Despite its acknowledgement that the wire coating needed to be taped over to

perhaps dissuade hungry animals, Honda still refused to cover Plaintiff’s needed repairs.

         20.   By inducing Plaintiff’s lease with warranties but then attempting to limit Honda’s

warranty obligations to only “repair or replacement of parts defective in material and

workmanship,” Defendant was required by common law and statute to perform adequate and

competent repairs or replacements within a reasonable opportunity and time, as competent




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repairs within a reasonable opportunity/amount of time is the essential purpose of warranties

restricted to repair or replacement of defective parts.

        21.     Honda failed to do so because it simply re-installed more soy-based insulated

wiring at Plaintiff’s cost.

        22.     Plaintiff provided Honda, by bringing his vehicle to a service center within

Honda’s authorized dealership network, a sufficient opportunity to repair the defective condition

within the Accord.

        23.     Despite being given a reasonable opportunity to cure said defect, Defendant failed

and refused to do so and thus, the warranty failed of its essential purpose. Rather, Defendant

averred that the situation was not a defect, re-installed more soy-based insulated wiring, and told

Plaintiff he would have to pay for repairs out of his own pocket or make a claim under his

insurance to repair the damage.

        24.     Defendant’s failure to correct said defects violate Defendant’s statutory and

common law duties to Plaintiff and the expectations created by Defendant’s promotional

documents and warranty.

        25.     As a result of the ineffective repair attempts made by Defendant through its

authorized dealership network, the Accord cannot be utilized as intended by Plaintiff at the time

of purchase and the use and value of the Accord has been diminished and/or substantially

impaired to Plaintiff.

        26.     Plaintiff relied on Defendant’s product advertisements, written, verbal, electronic

and/or otherwise, regarding the length and duration of Defendant’s new vehicle warranty when

deciding to purchase the subject vehicle. Plaintiff also relied on Defendant’s statements or




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representations of general policy concerning customer satisfaction when deciding to purchase the

Accord.

        27.     Plaintiff has been and will continue to be financially damaged due to Defendants’

conduct as described herein.

        28.     As a direct and proximate result of Defendant’s failure to comply with its

statutory written warranties, statutory obligations, and common law duties, Plaintiff has suffered

damages and, in accordance with 15 U.S.C. § 2310(d), Plaintiff is entitled to bring suit for such

damages and other legal and equitable relief.

                                    CLASS ALLEGATIONS

        29.     Plaintiff brings this action individually and on behalf of a class and subclass of

similarly situated individuals pursuant to Rule 23 of the Federal Rules of Civil Procedure.

        30.     The class is defined as all persons in the State of Illinois who, in the four years

prior to the filing of this Complaint: (a) purchased or leased new 2013, 2014, 2015, 2016, and

2017 model year Hondas; (b) which were manufactured using soy-based content as insulation for

the vehicle’s electrical wiring; and (c) can be identified as having incurred a repair related to the

soy-based wiring defect (through, for example, warranty claim documents or Honda-authorized

dealer service center records).    The class seeks relief for breach of warranty, pursuant to

Magnuson-Moss and state law.

        31.     The subclass is comprised of class members who purchased their vehicles in the

three years prior to the filing of this Complaint, the limitations period for Illinois Consumer

Fraud Act claims, as the subclass seeks relief for consumer fraud under 815 ILCS 505/2.

        32.     Both classes are so numerous that joinder of all members is impractical. Based

upon Defendant’s own published vehicle sale records, tens of thousands of consumers purchased




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or leased said vehicles in the State of Illinois during the three and four-year class periods and

multiple online forums and widespread media coverage details Honda owner complaints relating

to wiring.

       33.        There are questions of law and fact common to the classes that predominate over

any questions affecting only individual class members. These principal questions include: (a)

whether Defendant violated the Magnuson-Moss Warranty Act or state law express and implied

warranties by refusing to repair defective wiring insulation under the warranty provided at the

time of sale; (b) whether the soy-based insulated wiring is defective such that Honda had a legal

obligation to repair or replace such wiring under warranty; and (c) whether Honda committed

unfair acts in violation of state and federal public policy by refusing to repair/replace chewed

through wiring and/or installing soy-based insulated wiring in the first place.

       34.        Plaintiff’s claims are typical of the claims for all class members, as they arise

from the same operative facts and are predicated on the same legal theories.

       35.        There are no individual questions of fact, other than whether a class member

purchased or leased one of the vehicles which contain this defect, which can be determined by a

ministerial inspection of Defendant’s records, warranty claims, and/or Honda-authorized service

center records.

       36.        Plaintiff will fairly and adequately protect the interests of the class members.

Plaintiff is committed to vigorously prosecuting this matter and has retained counsel experienced

in handling class actions and warranty and unfair business practices claims. Neither Plaintiff nor

counsel for Plaintiff have any interests that might cause them to not vigorously pursue this claim.

       37.        This action should be maintained as a class action as the prosecution of separate

actions by individual class members would create a substantial risk of inconsistent or varying




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adjudications with respect to individual class members. Furthermore, the prosecution of separate

actions could result in adjudications of individual members’ claims that could be dispositive of

the interests of other members not parties to the adjudications or could substantially impair

and/or impede the ability of such individuals to protect their interests.

       38.       A class action is a superior method for the fair and efficient adjudication of this

controversy. There is interest in the class members to determine a uniform diminished value or

reimbursed repair costs for their vehicles and forcing class members to litigate their claims

individually against Honda is economically impracticable.

       COUNT I -- VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT

       39.       Plaintiff reincorporates by reference all preceding paragraphs as if set forth fully

in this Count.

       40.       The Honda vehicles purchased or leased by the class members (and their internal

wiring coverings) are consumer products, as that term is defined by 15 U.S.C. § 2301(1).

       41.       Plaintiff and the proposed class members are consumers, as that term is defined

by 15 U.S.C. § 2301(3).

       42.       Honda is a supplier/warrantor, as those terms are defined by 15 U.S.C. § 2301(4)-

(5).

       43.       Honda provided a written warranty, as that term is defined under 15 U.S.C. §

2301(6), and as outlined in Defendant’s New Vehicle Warranty booklet.

       44.       Honda also provided an implied warranty that the vehicles would be fit for the

general purpose for which they were sold or leased.




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       45.       Despite the written and implied warranties, Honda failed to remedy the defects

associated with its soy-based wiring insulation and refused to cover necessary consumer repairs

resulting from the material defects.

       46.       Honda breached its warranty obligations by failing to reimburse Plaintiff and the

class members for necessary vehicle repairs proximately caused by eaten or chewed through

wiring due to material and workmanship defects.

       47.       Honda’s breach has caused Plaintiff and the class members to suffer damages

even while their vehicles are allegedly covered under the New Vehicle Warranty booklet.

       WHEREFORE, pursuant to 15 U.S.C. § 2310(d), Plaintiff prays for relief against

Defendant for its violations of the Magnuson-Moss Warranty Act, and for this breach, Plaintiff

seeks an award of diminution in value damages, incurred and/or needed costs of repair, any

equitable relief to which Plaintiff may be entitled, all attorney fees, expert fees and court costs

incurred during the commencement and prosecution of this matter, and all other relief deemed

just and appropriate by this Court.

                      COUNT II -- BREACH OF IMPLIED WARRANTY

       48.       Plaintiff reincorporates by reference all preceding paragraphs as if set forth fully

in this Count.

       49.       Honda designed, manufactured, marketed, sold and warranted the vehicles leased

and purchased by Plaintiff and the class members.

       50.       Honda implied that such vehicles were fit for the ordinary purpose for which they

were to be used (i.e., safe driving) and they were comprised of non-defective component

materials (such as appropriate wire covering/insulation).




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       51.       Honda’s vehicles do not meet these warranties because they include soy-based

insulated wiring that is defective under normal use and unfit to achieve the wiring’s purpose.

       52.       After the insulation is eaten or chewed through, the wiring itself fails in its

workmanship and can no longer sustain its typical function.

       53.       Honda’s breach of the implied warranty has deprived Plaintiff and the class

members of the benefit of their bargain.

       WHEREFORE, Plaintiff prays for relief against Defendant for its breach of warranty, and

for this breach, Plaintiff seeks an award of diminution in value damages, incurred and/or needed

costs of repair, any equitable relief to which Plaintiff may be entitled, all attorney fees, expert

fees and court costs incurred during the commencement and prosecution of this matter, and all

other relief deemed just and appropriate by this Court.

                     COUNT III -- BREACH OF EXPRESS WARRANTY

       54.       Plaintiff reincorporates by reference all preceding paragraphs as if set forth fully

in this Count.

       55.       Honda made affirmations of fact to Plaintiff and the class members that Honda

will repair or replace any part that is defective in material or workmanship under normal use.

Honda did not exempt wiring from such warranty coverage.

       56.       Honda’s affirmations of fact created an express warranty that its vehicles would

conform to Honda’s representations.

       57.       However, Honda breached its express warranty by equipping its vehicles with

soy-based insulated wiring that is defective under normal use and unfit to achieve the wiring’s

purpose.




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       58.     After the insulation is eaten or chewed through, the wiring itself fails in its

workmanship and can no longer sustain its typical function.

       59.     The soy-based insulated wiring attracts rodents or other animals, leading to

serious electrical malfunctions and rendering the wiring inoperable during the course of the

Honda warranty period.

       60.     Honda’s breach of the express warranty has deprived Plaintiff and the class

members of the benefit of their bargain.

       WHEREFORE, Plaintiff prays for relief against Defendant for its breach of warranty, and

for this breach, Plaintiff seeks an award of diminution in value damages, incurred and/or needed

costs of repair, any equitable relief to which Plaintiff may be entitled, all attorney fees, expert

fees and court costs incurred during the commencement and prosecution of this matter, and all

other relief deemed just and appropriate by this Court.

             COUNT IV -- VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD
                     AND DECEPTIVE BUSINESS PRACTICES ACT

       61.     Plaintiff reincorporates all preceding paragraphs as if set forth fully in this Count.

       62.     When Defendant presented its warranty to Plaintiff and the class members

through its duly authorized dealerships, Defendant was aware that its soy-based insulation was

susceptible to being chewed and eaten by rodents and other animals.

       63.     Nonetheless, Defendant represented that defective parts or workmanship would be

warranted, even though it did not and would not warrant the soy-based insulation problem.

       64.     Shortly after Defendant began using soy based insulation for its electrical wiring,

Defendant began to receive complaints and requests for repairs of vehicles from a vast number of

consumers that had purchased or leased Defendant’s vehicles.




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       65.      Prior to the sale of the offending vehicles to Plaintiff and the class members,

Defendant was aware that the reason many of the vehicles were becoming inoperative was

because the soy insulation was being chewed and eaten by rodents and other animals.

       66.      Despite Defendant’s knowledge as aforesaid, Defendant continued to produce its

vehicles in a defective state, and moreover, continued to refuse to repair or replace the defective

materials. Rather, Defendant’s repair facilities were instructed to advise consumers that the

problem was not the result of a defect or any problem with the materials in the vehicle, and that

the consumers would have to pay for their own repairs.

       67.      Defendant’s failure to cover the expense of the repair for this defect has a

widespread effect on consumers and implicates general consumer protection concerns.

Defendant’s vehicle defect can and has caused consumer purchasers to incur thousands of dollars

in repair costs, insurance deductibles or worse, increased premiums, and diminished trade-in or

resale value.

       68.      The fact that the vehicle contains a defect that could render a vehicle inoperable is

a material fact, and had consumers been fully informed of the defective nature of these materials,

they would not have purchased or leased the vehicles.

       69.      At the time the class vehicles were leased or sold to the Plaintiff and the class

members, Defendant knew, or should have known, that the aforementioned defective condition

of the vehicles existed. Defendant nonetheless represented that its warranty would cover all

defects and nonconformities in the vehicle.

       70.      Defendant made a company-wide decision to refuse to cover under its warranty

the necessary repairs caused by the wires being chewed by rodents and other animals. Defendant

would not pay to replace the chewed-up wires and insulation, and repair whatever electrical




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malfunction ensued from the wires being chewed. Rather, Defendant informed consumers that

they would either have to pay for the repairs themselves or make a claim under their insurance.

       71.     Defendant’s unfair or deceptive conduct was done with the intent that the Plaintiff

and the class members rely on said representations and purchase or lease the vehicles.

Defendant knew that Plaintiff and the class members may not have purchased or leased their

vehicles if they knew that the vehicle was susceptible to having animals or rodents attracted to

the soy-based wiring and chew the wires to the point that it would cause electrical malfunctions,

and ultimately, have financial responsibility to pay for those repairs.

       72.     Plaintiff’s act of leasing one of Defendant’s vehicles that is safe, reliable, and can

be used for its essential purpose implicates consumer protection concerns.

       73.     Defendant’s unfair conduct – failing to warrant its wire insulation covering – is

immoral, unethical or unscrupulous. It violates federal and state warranty policies.

       WHEREFORE, pursuant to 815 ILCS 505/10, Plaintiff prays for relief against Defendant

for its violations of the Illinois Consumer Fraud and Deceptive Business Practices Act and

requests actual damages, punitive damages, injunctive or other equitable relief to which Plaintiff

may be entitled, all attorney fees, expert fees and court costs incurred during the commencement

and prosecution of this matter, and all other relief deemed just and appropriate by this Court.


                                                              Respectfully submitted,
                                                              MICHAEL PRESTON


                                                       By:     s/ Larry P. Smith
                                                               Attorney for Plaintiff

   Dated: May 11, 2017




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